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                     UNITED STATES DISTRICT COURT

                            DISTRICT OF MAINE

DAJUAN ANTONIO WILLIAMS,                  )
                                          )
                        PLAINTIFF         )
                                          )
V.                                        )       CIVIL NO. 2:19-CV-224-DBH
                                          )
CUMBERLAND COUNTY JAIL,         ET AL.,   )
                                          )
                        DEFENDANTS        )

                           ORDER OF DISMISSAL

      The plaintiff has failed to respond to the Order to Show Cause of

October 17, 2019, and has failed to provide this Court with an address where he

can be reached.

      Therefore, his lawsuit is DISMISSED      WITHOUT PREJUDICE   for failure to

prosecute.

      SO ORDERED.

      DATED THIS 8TH DAY OF NOVEMBER, 2019

                                              /S/D. BROCK HORNBY
                                              D. BROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE
